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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1415V
                                     Filed: March 24, 2017
                                         UNPUBLISHED

****************************
CHARLOTTE VAUGHN,                      *
                                       *
                   Petitioner,         *      Joint Stipulation on Damages;
v.                                     *      Pneumococcal Conjugate Vaccine;
                                       *      Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                    *      Administration (“SIRVA”); Special
AND HUMAN SERVICES,                    *      Processing Unit (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
Milton Clay Ragsdale, IV, Ragsdale LLC, Birmingham, AL, for petitioner.
Darry R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On October 27, 2016, Charlotte Vaughn (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) as a result of receiving a
pneumococcal conjugate vaccination on August 20, 2015. Petition at 4; Stipulation,
filed March 24, 2017, at ¶ 4. Petitioner further alleges that she suffered her shoulder
injury for more than six months. Petition at 4; Stipulation at ¶4. “Respondent denies
that the vaccine either caused or significantly aggravated petitioner’s alleged injury or
any other injury, and denies that petitioner’s current disabilities are the result of a
vaccine-related injury.” Stipulation at ¶ 6.

       Nevertheless, on March 24, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $150,000.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                   IN THE UN ITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS

                                                   )
C HARLOTTE VAUG H .                                )
                                                   )
                                                   )
                       Petiti oner.                )       No. 16- 14 15V ECF
                                                   )
                  v.                               )       Chief Spec ial Master Dorsey
                                                   )
SECRETARY OF HEALTH                                )
A D H UMAN SE RV ICE .                             )
                                                   )
                    Respondent.                    )
~~~~~~~~~~~~~~                                     )
                                              STIP ULATION

        The parti es hereby st ipulate to the fo llow ing matters:

        I.     Petitioner. Charl otte Vaughn, fil ed a petition for vacc ine compensation under the

  ational Vaccine Injury Compensation Program. 42 U.S.C. §§ 300aa-I 0 to 34 (the ··vaccine

Program ..).    T he petition seeks compensation fo r injuries al legedly related to petitioner' s receipt

of the pneumococca l vaccine ("vacci ne..), w hich is contained in the_Vaccine ln,iury Tab le (th e

..Table..). 42 C.F.R. § I 00.3(a).

        2.     O n A ugust 20. 20 15. peti tioner received the vacci ne.

        3.     The vaccine was admini stered w ithin the United States.

        4.     Petitioner alleges that. as a result of rece iving the vacc ine. she suffered from a lef1

shoul der injury related to vaccine ad ministration (.. SIR VA ..). and that she experienced symptoms

of th is inj ury for more th an six months.

        5.     Petiti oner represents that th ere has been no prior award or settlement of a civ il action

for damages as a result of her alleged injury.
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          6.     Respondent den ies that the vaccine either ca used or signili cantl y aggravated

 petitioner" s alleged injury or an y other injury. and denies that petitioner"s current disabilities are

 the result of a vaccine-related injury.

          7.     Mai ntai ning their above-stated positions. the parties neverth eless now agree that the

 issues between them shal I be settled and that a decision should be entered awardin g the

 compen sation described in paragraph 8 of thi s Sti pu lation.

          8.     As soon as practicable after an entry o f judgment ren ecting a decision consistent

 w ith the term s o f thi s Stipulation. and after petitio ner has filed an electio n to receive

 compen sation pursuant to 42 U . .C. § 300aa-2 I (a)( I ). the Secretary o f Hea lth and Human

 Services w ill issue the following vaccine compensation payment:

                     A lump sum o f $ 150.000.00. in the form of a check. payable to petiti oner.

 Th is amount represents compensatio n for all damages that would be ava i lab le under 42 U ... C.

§ 300aa- l 5{a).

          9.     A s soon as practicable after the entry o f j udgment on entit lement in thi s case. and

 after petitioner has fi led both a proper and timely electio n to rece ive compensati on pursuant to

 42 U.S.C. Section 300aa-2 I (a)( I ). and an application. the parties w i ll submit to further

 proceedings before the special master to award reasonable attorn eys· fees and costs incurred in

 proceeding upon thi s petition.

          I 0.     Petitioner and her attorn ey represent that compensation to be prov ided pursuant to

 this Stipulat ion is not for any items or serv ices for w hich the Program is not primaril y liab le

 under 42 U .S.C. § 300aa- l 5(g). to the extent that payment has been made or can reasonably be

 expected to be made under any State compensatio n program s, insurance po licies. Federa l or



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State health benefits program s (other than T it le X IX o f the Social Security Act (42 U.S.C.

§ 1396 et seq .)). or by entities that prov ide hea lth services on a pre-paid basis.

        11 .   Payment made pursuant to paragraph 8 of thi s Stipu lation. and any amounts

awarded pursuant to paragraph 9 of this Stipu lation. w i ll be made in accordance w ith 42 U .S.C.

§ 300aa-l 5( i). subject to the avai labi lity o f sufficient statutory fund s.

        12.    The parti es and their attorneys further agree and stipu late that. except for an y award

for attorneys · fees and liti gati on costs. the money provided pursuant to this Stipu lation w ill be

used so lely for the benefit o f petitioner. a contem plated by a strict construction of 42 U.S.C.

§ 300aa- I 5( a) and ( d). and subj ect to the conditions o f 42 U .S.C. §§ 300aa- I 5(g) and (h ).

        13.    In return for the payments described in paragraph s 8 and 9. petitioner. in her

ind ividual capacity and on behalfof her heirs. executors. adm ini strators. successors or assigns.

does forever irrevocably and unconditionally release. acquit and discharge the United States and

the Secretary of H ealth and Human Services from any and all actions. causes of' action (includi ng

agreements. judgments. claim s. damages. loss of serv ices. expenses and all demands o f wh atever

kind or nature) that have been brought. could have been brought. or could be timely brought in

the Court of Federa l C laims. under the National V acc ine Injury Compensation Program. 42

U.S.C. § 300aa-I 0 et seq .. on account o t: or in any way growing out oL any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from. or

alleged to have resulted from. the vaccine admin istered on A ugust 20. 201 5. as alleged by

petitioner in a petiti on for vaccine compensation fil ed on or about October 27. 20 16. in the

United States Court o f Federal C laims as petition No. 16-14 15Y .

        14.    I f peti tioner should die prior to entry of judgment. thi s agreement shall be vo idab le



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upon proper noti ce to the Court on behalf o f either or both o f the parti es.

        15.   If the special master fails to issue a dec ision in complete con formity w ith the term s

of this Stipul ation or if the Court o f Federal Claims fa il s to enter jud gment in conformity w ith a

decision that is in complete conformity w ith the term s of this Stipulation. then the parties·

settlement and this Stipulation shall be vo idable at the so le discreti on o f either party.

        16.   Thi s Stipulation expresses a full and comp lete negotiated settl ement of li abil ity and

damages claimed under the Nati onal Childhood V accine Injury Act or 1986. as amended. except

as otherw ise noted in paragraph 9 above.       T here is abso lutely no agreement on the part o f the

parties hereto to make any payment or to do any act or thing other than is herein ex pressly stated

and clearl y agreed to.   T he parti es furth er agree and understand that the award described in thi s

stipulation may refl ect a comprom ise o f the parti es· respecti ve positi ons as to li abi lity and/or

amount of damages, and furth er. that a change in the nature of the injury or condition or in the

items of compensation sought. is not grounds to mod i fy or rev ise this agreement.

        17.   T hi s Stipul ation shall not be construed as an admission by the United States or the

Secretary o f Health and Human Services that the vaccine rece ived by petitioner either caused or

signifi cantly aggravated petiti oner" s alleged injury or any other injury.

        18.   A ll ri ghts and obl igations o f petitioner hereunder shall appl y equally to peti t ioner" s

heirs. executors, administrators. successors. and/or assigns.

                                       END OF ST I PU LA TION




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Respectfully submitted,

PETITIONER:




CHARLOTTE VAUGHN

ATTORNEY OF RECORD FOR                     AUTHORIZED REPRESENTATIVE
PETITIONER:                                OF THE ATTORNEY GENERAL:




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Respectfu Ily submitted,

PETITIONER :




~?k-L
CHARLOTTE VAUG Hti?

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